From:              Garcia, Cheryl - OIG <garcia.cheryl@oig.dol.gov>
Sent:              Thursday, May 26, 2011 11:21 PM
To:                'LABELLE@halloran-sage.com'; Novick, David (USACT); 'Mike.Gustafson@usdoj.gov'
Cc:                Miller, Ray (USACT); Allen, Lynn - OIG
Subject:           Re: Search at Simsbury and Stamford



Dan,

We anticipate finishing around 1:30am and need someone to come to the office to secure the building, accept
copies of the inventory sheets and accept service of a few subpoenas.

Please let me know who will be coming. If you tell me no one is coming, I will take that as your consent for us
to leave the building as we were told the doors lock automatically and they do.

Thank you,

Cheri


From: LaBelle, Dan E. [mailto:LABELLE@halloran‐sage.com]
Sent: Thursday, May 26, 2011 1

The original message has been archived. Click the following link to retrieve it

http://ARCHIVE2/AOneSearch?ID=2B933A52‐BA0A‐11E0‐A8B6‐
002655270D98_FY%202011$1$A1P110729134225_ARCHIVE2_P000209$006088_Re__Search_at_Simsbury_a
nd_Stamford




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